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March l9, 2018

United States District Court

Hon. Andrew L. Carter, Jr.

Southern District of New York

40 Foley Square, Room 435

New York, NY 10007

Via ECF and email: Al r(.`AR'l`ERN YSDChambers.fiil!nvstl.uscouz'ls.gov

Re: Ali v. Lawrence K. Marks, et al
Civ. Case No.: l6-cv-Ol994 (ALC)
Dear Judge Carter:

I am the attorney for the plaintiff, Eric Ali, who has brought this action alleging a
violation of his civil rights whilst in custody. l am respectfully requesting, with the consent of the
defense, an order allowing for the filing of a third amended complaint

The third amended complaint would substantively mirror the second amended complaint
and would simply substitute currently named John Doe with the name of the recently identified
officers Additionally, the third amended complaint’s causes of actions will be consistent with
the Court’s order dated March l4, 2018 dismissing from the plaintiffs complaint the conspiracy
to deprive plaintiff of his right to be free from deliberate indifference cause of action.

If the Court grants the within application the defense has requested that it be allowed
thirty (3 O) days in which to interpose an answer for the defendant(s) assuming a request for
representation from the served parties is received by the New York Attorney General’s offlce.
The plaintiff consents to the defense’s portion of this application.

Very truly yours,

Adrian A. Ellis

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AAE:KB
Michael Siudzinski, A.A.G.

